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                                                       1   Bart K. Larsen, Esq.
                                                           Nevada Bar No. 8538
                                                       2   Kyle M. Wyant, Esq.
                                                           Nevada Bar No. 14652
                                                       3   SHEA LARSEN
                                                           1731 Village Center Circle, Suite 150
                                                       4   Las Vegas, Nevada 89134
                                                           Telephone: (702) 471-7432
                                                       5   Fax: (702) 926-9683
                                                           Email: blarsen@shea.law
                                                       6           kwyant@shea.law

                                                       7   Attorneys for HASelect-Medical Receivables
                                                           Litigation Finance Fund International SP
                                                       8

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                                                      10
                                                                                     UNITED STATES BANKRUPTCY COURT
                                                      11
                                                                                               DISTRICT OF NEVADA
              1731 Village Center Circle, Suite 150




                                                      12
                                                           In re:
                   Las Vegas, Nevada 89134
SHEA LARSEN




                                                      13                                                            Case No. 21-14486-abl
                        (702) 471-7432




                                                              INFINITY CAPITAL MANAGEMENT, INC.                     Chapter 7
                                                      14
                                                                                  Debtor.
                                                      15

                                                      16

                                                      17

                                                      18                          SUPPLEMENTAL CERTIFICATE OF SERVICE
                                                      19            On May 26, 2022, I served the following documents:

                                                      20      1.       Haselect-Medical Receivables Litigation Finance Fund International SP’s Motion to

                                                      21               Enforce Court Orders and to Compel Surrender of Collateral [ECF No. 210];

                                                      22      2.       Declaration of Michael Griffin in Support of Haselect-Medical Receivables Litigation

                                                      23               Finance Fund International SP’s Motion to Enforce Court Orders and to Compel

                                                      24               Surrender of Collateral [ECF No. 211];

                                                      25      3.        Ex Parte Motion for Order Shortening Time on Haselect-Medical Receivables Litigation

                                                      26               Finance Fund International SP’s Motion to Enforce Court Orders and to Compel

                                                      27               Surrender of Collateral [ECF No. 212];

                                                      28      4.       Attorney Information Sheet in Support of Ex Parte Motion for Order Shortening Time on


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                                                       1             Haselect-Medical Receivables Litigation Finance Fund International SP’s Motion to

                                                       2             Enforce Court Orders and to Compel Surrender of Collateral [ECF No. 213]; and

                                                       3     5.      Notice of Entry of Order Granting Haselect-Medical Receivables Litigation Finance

                                                       4             Fund International SP’s Motion to Enforce Court Orders and to Compel Surrender of

                                                       5             Collateral [ECF No. 215].

                                                       6
                                                                  I served the above documents by the following means to the persons as listed below:
                                                       7
                                                                         ☐      a.       ECF System:
                                                       8
                                                                         ☒      b.       United States mail, postage fully prepaid:
                                                       9
                                                                                TPL Claims Management, LLC
                                                      10                        10100 W. Charleston Blvd., Suite 120
                                                                                Las Vegas, Nevada 89135
                                                      11
              1731 Village Center Circle, Suite 150




                                                                         ☐      c.       Personal Service:
                                                      12
                   Las Vegas, Nevada 89134
SHEA LARSEN




                                                                         I personally delivered the document(s) to the persons at these addresses:
                        (702) 471-7432




                                                      13
                                                                                         ☐       For a party represented by an attorney, delivery was made by
                                                      14                 handing the document(s) at the attorney’s office with a clerk or other person in
                                                                         charge, or if no one is in charge by leaving the document(s) in a conspicuous place
                                                      15                 in the office.
                                                      16                                 ☐       For a party, delivery was made by handling the document(s)
                                                                         to the party or by leaving the document(s) at the person’s dwelling house or usual
                                                      17                 place of abode with someone of suitable age and discretion residing there.
                                                      18                 ☐       d.      By direct email (as opposed to through the ECF System):
                                                                         Based upon the written agreement of the parties to accept service by email or a
                                                      19                 court order, I caused the document(s) to be sent to the persons at the email
                                                                         addresses listed below. I did not receive, within a reasonable time after the
                                                      20                 transmission, any electronic message or other indication that the transmission was
                                                                         unsuccessful.
                                                      21
                                                                         ☐      e.       By fax transmission:
                                                      22
                                                                         Based upon the written agreement of the parties to accept service by fax
                                                      23                 transmission or a court order, I faxed the document(s) to the persons at the fax
                                                                         numbers listed below. No error was reported by the fax machine that I used. A copy
                                                      24                 of the record of the fax transmission is attached.
                                                      25                 ☐      f.       By messenger:
                                                      26                 I served the document(s) by placing them in an envelope or package addressed to
                                                                         the persons at the addresses listed below and providing them to a messenger for
                                                      27                 service.
                                                      28

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                                                                I declare under penalty of perjury that the foregoing is true and correct.
                                                       1
                                                                Dated: May 26, 2022.
                                                       2                                              By: /s/ Bart K. Larsen, Esq,
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              1731 Village Center Circle, Suite 150




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                   Las Vegas, Nevada 89134
SHEA LARSEN

                        (702) 471-7432




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